WILLIAM S. PHILLIPS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Phillips v. CommissionerDocket No. 34703.United States Board of Tax Appeals20 B.T.A. 206; 1930 BTA LEXIS 2184; July 3, 1930, Promulgated *2184  The petitioner held to be liable as transferee under the facts stated.  J. B. Grice Esq., for the petitioner.  J. R. Johnson, Esq., and B. U. Steele, Esq., for the respondent.  TRAMMELLThis is a proceeding under section 280 of the Revenue Act of 1926, for the redetermination of the transferee liability asserted against the petitioner in the amount of $849.51, the tax liability of the corporation of which the petitioner was a stockholder.  FINDINGS OF FACT.  The Argonne Apartment House Co. was a corporation organized and existing under the laws of the District of Columbia, the capital stock of which, except for qualifying shares, was owned by the petitioner.  Within the time required by law the corporation filed its income-tax return for 1923 showing an original tax due of $3,398.70, of which amount there was paid $2,548.56, leaving due and unpaid a balance of $849.51, which amount is still due and unpaid and has been assessed against the taxpayer corporation and has been proposed for assessment against the petitioner herein under the provisions of section 280 of the Revenue Act of 1926 as transferee of the Argonne Apartment House Co.  *2185  During 1923 the corporation sold all of its assets, property and business for the sum of $1,730,000, realizing a profit of $27,184.50, which amount was returned by the corporation as its taxable net income for 1923.  Thereafter the corporation distributed to the petitioner in liquidation of his capital stock a sum of money in excess of the tax liability here involved and thereafter had no assets and ceased to do business and still has no assets or property of any character or kind and is insolvent and has been since the date of said distribution.  The corporation distributed its assets to the petitioner subsequent to the accrual and due date of the said taxes.  OPINION.  TRAMMELL: The foregoing statement of facts contains every element required to show the liability of the petitioner as a transferee under the provisions of section 280 of the Revenue Act of 1926.  Judgment will be entered for the respondent.